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            To whom   it may concern,                                                         Tues, Aug 27tr, 2019
-
                                                      YOUR HONOR

              Hello, my name is Jennifer Allen, My husband is Joseph Loren Allen. I'm writing you this letter in hoping
            it will give you a different outlook and perspective on Mr, Allen. I can assure you that everything written
            in this letter are 100% fucts of reality. Josephs reality. No excLrses or denials justifying his wrongs. Just
            Simply facts based on the poor choices he has made over the years and explainingthe very little options
            and opportuniUes he has been given. Everything written in this letter serves a purpose to be spoken of.
            Whether lt be a short story or just an example. Please be open minded as you continue read. Thank you.

                                                      THE PROTECIOR

             First off, I would like to share with you the first tlme I had ever met Joseph. This story I believe is
            important because it really puts into aspects of what kind a man he truly is. lt was May 31rst 2072. A
            mutual friend (JosephJ and ls ') named I had knocked on my front door, My 3 children were with my
           mom at the time so I had been cleaning my apartment. When I heard the knock I came to my door and
           answered lt. When I opened the door there stood B and behind him stood Joseph. I wasn't too happy
           because B knew I don't like people being brought to my apartment. B told me that Joseph was fresh out
           of jail and he is good people, Right away I started yelling at B, and Joseph looks at me and said "l'm sorry
           l'll leave". I wasn't mad at Joseph, I was mad at B. Considering Joseph was polite and showed common
           courtesy and respect I decided to let them both in. Joseph was very well mannered not disrespectful
           once so ever. I really appreciated that. He even offered if I needed any help with anything, Which, was
           very generous. lt wasn't too much longer after they had arrived that my children were being dropped
           off. I needed help carrying all the ba8s and car seats so Joseph willingly offered. He said he had chlldren
           himself so I accepted his help but was still very leery. He was very polite to my children and they seemed
           to of liked him. lt was about 10pm pass my kids bedtime. So I put them to bed. When I came out in my
           living room, lt was just Joseph sitting by himself. I asked him where B was, and Joseph responded 'l doo't
           know, he walked out the front door without saying anythingi'. Joseph then said "l can leave, I don't
           want to be a burden". I responded "Nol l You're fine, I don't mind you here". I told him that him being
           left here is rude. on Bs behalf and that because he is so polite and respectful that he is welcomed. I even
           asked him if he needed to use my phone to call someone. I told him he can stay ufitil he figures out his
           next move. I was very understanding of him being fresh out ofjail. I then found out that he just got out
           seMng 8 months in county jail and that he had beat his case, so he really didn't have a next move, He
           assured me he did not want to be burden and would leave. I said "no, no, no, you are more then
           welcome to stay even over night on the couch if he needed". I felt so so so sad when I realized, this well
           mannered respectful polite man, has no home, no family, no plan. He said wen if he could call someone
           he has no phone numbers. Orng, I wanted      to cry. He was picked up from jail by B and was left at some
           stranters house he didn^t even know. We both try to find B but given his phone was off we weren't able
           to reach him. So basically, we would just have to wait to see if he showed up. Joseph and I spent hours
           getting to know each other. I was suffering a 6 year heartbreak and he was fresh out ofjait. Lol. talked
           So we mostlytalked about our children. lt was getting late 12:30ish and I was tired, and then was a
           knock at the door. We both look at each other and I opened the door and in storms B with a poor




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            attitude just reeking of alcohol. I asked him where
-           completely reckless. 7 years of knowing B and I had
                                                                   the hell he went and he started talking to me
                                                                     never seen that side of him. So to keep the piece I
            stayed up a little longer. As the hour lingered all I wanted
                                                                           lo do was go to sleep. However, B was acting a
            corndete ass and was not letting that happen. He was being
                                                                               controlling I am mean completely psycho.
           Joseph tried getting them to leave but B refused. Then
                                                                       out of no where B sits on top of me and cold
           dock me with his full fist busting up my eye. lt happened so fast I can
                                                                                          barely remember, what I do
           remember is Joseph pulling B off of me and stood right in
                                                                            front of me and shielded me. B was furious.
           His exact words were ,,your gonna protect this
                                                              bitch bro? like that?,,. And that,s exactly what he did.
           Joseph a complete stranger protected me and pulled
                                                                     B out of my apartment for me. Joseph then
           apologized and I thanked him. Joseph left with B and
                                                                     said don't worry ill make sure he stays in my sight.
           He thanked me for everything.. I smiled and told him
                                                                     he is welcomed anytime. I didn,t honestly think l,d
           ever see him again that was until two days later when he
                                                                            showed up alone just making sure I was ok. t
           knew right then and there that amazing man that saved me would                                                          r-
                                                                                     be a part of my life forever.

                                                       THE HEAI.ER                                                               ,-:: -
                                                                                                                                 -r{r.,

               This next paragraph is telling you a little about me. The reason
                                                                                     why this is relevant to Joseph is because
             it really shows the kind of loving man he is. l'm what you
                                                                           call damaged goods. I suffer from many many
            disabilities' Disabilities, that will have me medicated for the rest
                                                                                      of rnv irv tife. uentat dirabilities. on
            top of that I have suffered two abusive horrible critical relationships
                                                                                          with both my babies dads. As a
            child I was abused and controlled and neglected and a banded.
                                                                                    I was very closed, and had a wall so thick
            and high that I told myself not to trust or love or believe. That
                                                                                 was until I met Joseph. Many many times
            in our 8 year relationship, I tried to push him away, He refused
                                                                                   to give up on me. when I was manic low
            hiding from the world refusing to show my face.. He would
                                                                             open the window to let the sun shine
           through' Even after I shut the blinds. lf I was refusing to get out of
                                                                                        bed or eat he would make something
           to eat and hold me close until I did. lf lwould cry he would wipe
                                                                                      mytears and tell me l,m to beautiful to
           cry' when I wanted to give up and had no strength he would pull
                                                                                      me together and tell me its just bumps
           in the road that I got jump over. He would take me
                                                                   to the one place lloie the most just hold me in
           silence as we watched the waves clash against each other
                                                                            and i cried in his arms. He is the most positive
           understandint non judge mental and patient s€lf motivational human
                                                                                            being, I have ever met. He doesn,t
           let me make excuses. Even on my worse days he would act
                                                                             as if they were iormal.. lt didn,t matter how
           bad they got, he made it ok for me to heal. He is the oNLY
                                                                            man I trust". No matter what he never gave
          up on me' Any person that has that kind of love to give is
                                                                          truly is my angel. He brought down thaiwall I
          closed so tiSht and I have him to thank everyday foi the
                                                                         woman I have 6ecome, Now I can,t live without
          him' 'lhe world I have lived in has nothing but judged ridiculed
                                                                                 and stereo typeo. Joseph Allen saw right
          past all my trauma and disabilities and saw my
                                                               imperfections as perfuct. Ani even on his worse days he
          always made sure to bri8hten mine. That is the kind of
                                                                       a man he is. Tru[. eesioe show Joseph is towards
          rne and the rest of the world, the best role he has is being
                                                                           an arnazing father and daddy. I have major
          daddy issues and you will never ever ever ever hear me say
                                                                              he is a bad dad. He does right by his
          dlildren no matter what. He alwaya puts them first and never
                                                                                once has he let them go without. we
          became a family, me him, and alt our children. And I will
                                                                         be the first to say how truly blessed the kids are
         to have such an amazing dadlt

                                                     THE SURVIVOR

           This next paragraph is going to be based on stating some
                                                                    hard reality. while I know that Josephs
         criminal record and the courts have convinced pretty much anyone
                                                                             not on his side that Joseph Allen is




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            some kind of dangerous monster. The courts portray him to be this bad horrible man. Truth be told he
-           is exactly the opposite. Joseph Allen is many many things but a monster is not one of them. And let me
            be the first to state that I am not justifying any of my husbands' behavior or poor choices when it comes
            to obeying the law under ttre felon rules or regulations. Right is right and wrong is wrong period.
            However, truth be told... Joseph Allen is not the only one at fault. The system that is setup to "help"
            felons and criminals get back on the right path is a set up for failure. So a felon does time and tets
            released from prison right? Then is put on d.o.c supposedly to get them back on track lt's a system that
            is supposed to be a positive outlook for felons and their future. Ok well rude awakening.. . Ihat only
            work for fulons who have 100% familysupport and money, Joseph got released from work release we
            lived at my sisters he had a job, hell he was doing great. Then my sister moved leaving us with no where
            to go. The only place we could go was clear out in federal way.   His   job was in Redmond, On the bus. The
            commute was too much given we had no stable home. So he reaches out to his D.O.C OFFICER telling
            him his situation and asking for bus tickets housing help different job transfers. Ect. And not only does
            his d.o.c officer add more to his plate by wanting him to check in once a week but refuses any kind of
            help once so ever and doesn't even see him. lwas there I witness that for myself. So mean while things
            changed that was out of his hand, when he asked for help he gets shut down and denied. Well being
            homeless leads to jobless leads being jobless leads to no checking in leads to warrants and eventually
            back on the streets using again and jail time. All because no one wanted to help when he asking for it.
            Now ask yourself thls... How is anyone especially a convicted felon supposed to better his or her life
            when all they get is turned away when seeking for help? Yes , Joseph Allen has continuously broke the
            law again over and over. Again I do not justify his poor choices or wrongs. However, the reality of matter
            is Joseph is a middle aged black convicted felon which happens to be homeless and live day by day on
            these streets struggling just to maintain stay alive and eat every day. Ooes he carry fire arrns knowing he
            isn't supposed to. Yes , but not because he is dangerous but for the simple fact the streets are not no
            playground. Does he have a bad cold habit of smoking methamphetamines? Yes. As you know this
            particular illegal substance helps kills the appetite helping him stay energized and awake for days
            without feeling restless. Truth be told my husband never really knew when his next meal was going to
            be or when next time he would be able to safely close his eyes to rest again. He forced me to stay with
            my family where he was not allowed but he knew I was safe. I would borrow money to get hotels just so
            he could sleep. I wonied every single day on whether I was going to get a phone call saying he was dead.
            Given his record he can't just walk into a place a get a job not to mention he only finished up to the 10th
            grade, so belng a felon, homeless, and no ged or diploma his options are pretty much slim to none. And
            because he can't get a job he will never be able to buy a house or even rent an apartment. Leaving him
            right back to square one no help no home strictly survival of the streets. Does his make him a dangerous
            horrible man no it makes him a survivor.

                                                      THE RUNNER


              Now this next paragraph brings forward what it is like to live the life of Joseph Loren Allen a colored
            middle aged man known to the system. What do call that??? A walking target. I can speak on his behalf
            in this paragraph not only because these are true facts but because I have witnessed most ofthese
            occurrences with my own two eyes Joseph isn't just your average felon he is a felon of color. He is a




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          felon of color tha(s fears what is supposed to be our "serye and protectors" the policel! Why might you
-         ask?? Well I am about to tell you. The so called "good guys" that call themselves heroes are non other
          then criminals themselves. Most of them are nothing more them bullies with badges. I can't tell you
          how many times Joseph has been cooperative and arrested taken to fields beaten senseless by multiple
          officers while in handcuffed. Now I didn't witness that but I know he wasn't black and blue on his way to
          jail and when seen him th€ next morning for court all busted up in the face. For one I know my husband
          wouldn't lie to me for two it damn sure wasn't other inmates. I can say I have witnessed the most
          horrible occurrences though. Joseph and I were sound asleep and I had gotten woke by the sound of a
          helicopter hovering above the house we were at. I go outside to see what the noise was and everyone in
          the house was outside with swat team k9 unit and bomb squad. Officer sheriff Curtis Timby ask me
          where Joseph was. I didn't answer. He said it's alright it's just a doc warrant. They are threatening to
          blow up the house and send the dogp in. so I go wake Joseph up and tell him and he looks at me and
          goes back to sleep. He said they are just trying to scare me. Well somehow they issued a search warrant
          to come ln and blow up the house so I told Joseph he said if s only a doc violation you will do 3Odays and
          they will go away so willingly Joseph puts his shoes oo walks out the room I tell Timby he is comint out.
          He had his hands up and everything. Timby had another officer handcuff him while he holds a loaded
          riffle to his neck. Mind you we are behind closed doors. Joes says please get the gun off my neck and
          then Timby threaten to kill him and bashed him in the back of the head with the fully loaded rifle. Joe
          goes   to court the next morning and little did we know they were falsely accusing him of something he
          did not do. I know he didn't because he was with me in bed that's whole day and night, lended up
          speaking in court on josephs behalf and they didn't have ary evidence so they dropped the case. And
          released him after the 30 days Now, a criminal does the crime they do the time period but falsely
          accusing someone of something they didn't do then bashing them in the head threatening there life and
          lying to get him to coop€rate. That's no hero. That's a bully. They used to follow me when I would be
          jogging thinking I was meeting up with him. Ihat's harassment. I could go on and on and on but nothing
          beats when (aug 23'd 2018) when k9 units auburn pd Jeff nelson know to have kills and many deadly
          forces acts against him already forcefully purposely runs over my husband's ankles pins him against the
          fence and shatters his ankles with suv while having tris lights off claiming he was high jacking a car when
          reality he offered a woman SfOOO to drive him out of there she said no and he keep running away from
          the car. Since when is it not a crime to run someone over.? And only to make matters worse the Fdc
          refuses to give him the medical treatment he needs (even suggested by doctor)and cause of that he will
          probably not walk in the future. Note this man runs from the police because he doesn't want to go to jail
          for one but for two because he fears the police. He is not attackiflg them. He runs in fear of his life from
          them. Not to mention after he ran him over four officers beat him in handcuffs with broken ankles and
          drug him to the suv and was hours before he was admitted to the hospital. They stand in court in and
          say all these horrible thingp about Joseph Allen like he is a honible man. And he is not a bad man. At all.
          Unfortunate yes. A survivor defiantly. Please take into consideration that Joseph Allen is a non violent
          offender. ln the court eyes he is just trash. They down talk him as if he is a monster. And he is far from it.




                                                          Lr'+
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-                                                      THE DREAMER



              Once again I am not iustifying any of josephs wrongs. l'm simpty stating facts, and honestly you may
            read this whole letter, you may not. I know it's long. But if you do f'm really hoping this has opened your
            eyes to the reality of the truth. My husband doesn't need maximum sentence. He needs someone with a
             understanding and power to make a difference, To see him as a rnan of lack of opportunities and help he
             needed to proceed wilh positive outcomes. You honor, Joseph knows that's carrying guns and doing
             drugs gets him prison time. And he adrnits his faults and does his time. He doesn't blame anyone but
             himself, And sadly jail right now is keeping him from cold sleepless night. Keeping him fed safe alive, He
             never has really had a stable home to call home. And anywhere he rested temporarily the cops took or
             harassed him. I mean he never really had a fighting chance to do really do right. I don t know what the
            future holds for us. I do know this. Joseph Loren Allen is a phenomenal man despite how anyone labels
            him. After being ran over I think l'd say he def look at life a lot difference now. He is punished for life
            now, They don't even know him. His heart is pure. He tells me every day in order for us to good I have to
            be great. While he does this time l'm goingto do this time right with him every step of the way. l'm a
            white woman with no criminal record. So while he is in prison I will be getting off my ass quit using my
            mental problems as a excuse and get myself back into collage. And Stop making excuses and start
            putting my husband and our frrture my only prionty. I have the option of working hard and building us
            home with a stable income so he gets out he will never have to go back to the streets again. He never
            tave up on me and l'm not giving up on him. My job as Mrs. Jennifer Allen is to be there for him
            mentally every single day with hope and arnbition for a better future. lt break my hearts when he
            apologizes for leaving me out here by myself, Knowing that he can't protect me if something were to
            happen to me. That's why I stay home travel only when visiting him twice a week so he doesn't panic
            cause he knows l'm safe and he stays out oftrouble, calls me every night before bed so I know he is
            safe. That's the kind of man Joseph Allen is. Truly. liust really hope federal probation has a lst more to
            offer him then doc and if they don't we will be ok I got this. For us. All I have seen and heard over the
            years is everyone wants t0 hunt him lock him up and throw away the key. lt's time to make positive
                                                                           I
            changes... I hear good things about you, I hope they are true just please take my looooong letter
            into consideration. What ever you feel he needs to serye, then I don't argue with judge. Just no matter
            what you can see past what he is portrayed to be and see man that survived through all types of
            struSSles and put all his past in hope for a brighter future. Sorry so long. Lo[ you have the power to make
            a difference. Again. Sorry so longll But the truth needed to be spoken and his voice needs to be heard.



                                                                                Thank you,

                                                                                 Sincerely,




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To the Honorable John C. Coughenour,

I’m writing this reference letter on behalf of Joesph Loren Allen. I have known him all his life. I’m his
biological mother. I, his siblings, relatives and friends, refer to him as Joe. When Joe was born, he was a
health baby. As years went by, he struggled with his speech problem. When he started school, he
continued to struggle with his speech. He was evaluated by the school system. He had a slight learning
disability and was placed in special education. He did well with his education over the years but also
struggled. He thrived to do his best!

In addition to Joe’s struggles with education and speech, I was a single parent, struggled financially
throughout his youth, hoped to find a good male role model for him, but sadly that did not happen. The
Joe’s dad was involved but had health problems and died in Joe’s earlier teen years. Joe’s youth has
taken a toll on him, made life challenging for him, but Joe has always had a good heart and a good soul.
Joe has faced trials and struggles.

For example, in 1988 or 1989, when we lived in Everett, I was a victim of domestic violence. My
husband, Joe’s stepdad, assaulted me with a knife as I grabbed my kids to run out of the home. My kids,
including Joe, were screaming. My husband threw the knife at us. Running for safety, I was able to grab
the knife from the ground and throw it across the street. As I threw the knife, I was pushed from the
back to the ground. My husband punched me with closed fists. Neighbors called the police. He was
arrested. He was released to wait trial but the abuse did not stop. While awaiting trial and with
restraining orders, he threatened to kill me and the kids. He was sent to jail but after his release the
abuse started again. I moved with the kids to hide from him but he found us. For 2 to 3 years, no
matters where I moved and no matter how many restraining order I received, he always found us. The
abuse never stopped.

My kids witnessed the violence and had to move constantly with short notice. It was a hardship for us
all. In the 1980’s domestic violence was not strongly enforced. I hope this letter gives you some
understanding as to who Joe is. He now has a beautiful wife. She is a very positive support for him.
Thank you for taking the time to read my letter. I, his siblings, relatives and friends, love Joe and want
him back in our lives.



                                                                           Thank you,



                                                                           Sherry Wood
